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IN THE UNITED STATES DISTRICT COURT .
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division 1515 FEB 1 2 A 13 | '|
_ _ ) CLERK US DISTRICT COURT
Maria Rivas ) ALEXANDR|A, VlRGiNlA
)
Plaz°ntijj” )
)
v. ) l
) Civil Action No.: 1
New Penn Financial, LLC ) | do CV l L} {¢
dfb/a Shellpoint Mortgage Services ) )_O / :¥\03`
Serve: )
Corporation Service Company )
Bank ofAmerica center, 16‘h1=100r )
1111 East Main Street )
Richmond, VA 23219 )
)
Defendant. )
)
L)M

l. Defendant New Penn Financial, LLC, d/b/a Shellpoint Mortgage Servicing
(“Shellpoint”) sent Maria Rivas a debt collection letter after being notified that she was
being represented by counsel and directed to address all communication to her attorney.
This action served to undermine Ms. Rivas’ rights under the Fair Debt Collection
Practices Act (FDCPA), 15 U.S.C. § 1692c(a)(2). Jurisdiction over plaintiffs claim lies
in this court pursuant to 28 U.S.C. § 1331 and 15 U.S.C. § l692k(d). Venue is proper in
this court as the communication complained of herein was received by a consumer at her
residence in Fairfax County, Virginia.

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2. Plaintiff` Maria Rivas is an adult resident of Fairfax County. She is a

consumer within the meaning of the FDCPA, 15 U.S.C. § 1692a(3). Many years ago,

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plaintiff was the homeowner on the title and obligor on the mortgages of 604 Gibson Dr.
SW, Vienna, VA 22180, which was her sole residence.

3. Defendant Shellpoint is a debt collector within the meaning of the
FDCPA, 15 U.S.C. § l692a(6), because it uses the mail in a business that regularly
collects and attempts to collect debts owed or due to another, and also regularly collects
and attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or
due to another, Shellpoint became the servicer of the account at issue in this case after the
debt Was already in default.

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4. On November 30, 2005, Maria Rivas bought her sole residence at 604
Gibson Drive SW, Vienna, VA 22180. She financed the purchase with an 80/20
mortgage, both with Washington Mutual. The mortgages featured extremely high fixed
rates given prevailing interest rates, including a 10.85% thirty-year fixed rate on the
second mortgage, 631 basis points over the lO-year yield. Historical average rates for
first mortgages in November 2005 were at 6.28%. The high fixed rate and monthly
payments potentially indicates steering into unsuitable products.

5 . Subsequently, Ms. Rivas’s employer reduced her hours at the same time
her son lost his construction j ob, resulting in a substantial drop in her household income.
Less than three years after the mortgages were originated, Ms. Rivas found herself unable
to stay current on her payments.

6. She lost the home due to foreclosure on the first mortgage, and received
no cash for the equity she had established in the house. She moved out and did not

receive communications about the home for several years (Subsequently, the home was

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demolished and a developer built a McMansion on the same lot.) The second lien
mortgage on this home is the subject of this lawsuit.

7. On June 29, 2015, Ms. Rivas was informed by letter that servicing of her
loan had been transferred to Shellpoint Mortgage Servicing, with Shellpoint accepting
payments beginning July 22, 2015.

8. On July 20, 2015, Ms. Rivas’ counsel informed Shellpoint by letter that
“all communications regarding this matter, whether by mail or by telephone, should be
exclusively through [her attorney].” The letter additionally disputed and requested
verification of the debt, A copy of this letter is attached hereto as Exhibit A and its
contents expressly incorporated herein by reference.

9. On August 4, 2015, Shellpoint responded to Ms. Rivas’ counsel by letter,
explaining that it was “working to gather the requested information and will forward it to
you within the allotted time&ame.” Ten days later on August 13, 2015, Shellpoint sent
Ms. Rivas’ attorney a number of records relating to the debt.

10. On November 17, 2015, Shellpoint mailed a Validation of Debt Notice
directly to Ms. Rivas. A copy of this letter is attached hereto as Exhibit B, and its
contents expressly incorporated herein by reference. Knowing that any communication
pertaining to the loan would be sent to her attomey, Ms. Rivas did not at first recognize
that the letter was from Shellpoint, and opened it a week or two after receipt.

11. Through this November letter, defendant Shellpoint communicated
directly with Ms. Rivas regarding the collection of a debt, after it had been informed in
writing that she was represented by counsel, and alter having communicated with counsel

regarding the same debt.

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12. This communication violated the FDCPA, which provides that a debt
collector may contact only the attorney alter it has been informed a debtor is represented
by counsel in a given matter.

13. The November 2015 communication greatly distressed Ms. Rivas. At the
time she received the letter from Shellpoint, she had already been experiencing chest
pains that would require surgery; she was in constant pain, she could not drive, and she
could not work. To learn that her creditors would continue to pursue her directly, despite
knowing that she had an attomey, only added to Ms. Rivas’s pain, She experienced
headaches and trouble sleeping In addition to her headaches and lack of sleep, Ms. Rivas
also suffered a great deal of stress.

14. This was the second time Ms. Rivas had been assured that her rights under
the FDCPA protected her nom direct communications from a debt collector when
represented by counsel, only for the debt collector to undermine that protection Before
Shellpoint became the loan servicer for the mortgage, the loan was serviced by chen
Loan Servicing, LLC (chen). Eight years after the home was foreclosed upon, chen
sent Ms. Rivas a collection letter. Ms. Rivas obtained counsel, who directed chen that
communication should only be through Ms. Rivas’s attomey, Still, chen sent a
collection letter directly to Ms. Rivas, which confused and intimidated Ms. Rivas. Ms.
Rivas, by counsel, brought a lawsuit against chen on March 3, 2015 (Civ. No.
1:15CV283). The case was settled out of court on August 4, 2015, and Ms. Rivas again

understood the matter to be resolved.

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15 . Just three months later in November 2015, Shellpoint committed the same
violation of the FDCPA by knowingly sending a letter directly to Ms. Rivas, who was

represented by counsel.

CAUSE OF ACTION
Count I: Violation of the FDCPA- Communication not through Attorney as
Directed

16. At all times relevant to this action, defendant was a debt collector within
the meaning of the FDCPA because it is a business which regularly collects and attempts
to collect debts owed or due to another, Defendant obtained the servicing rights to the
account at issue long alter default.

17. Ms. Rivas is a consumer within the meaning of the FDCPA, and her debt
at issue in this lawsuit is a consumer debt within the meaning of the FDCPA as it arose
out of the purchase of her sole residence.

18. By means of its November 17, 2015 letter as set forth above, sent to Ms.
Rivas directly and not to her attorney as directed in written communication, defendant
violated the FDCPA, 15 U.S.C. § l6920(a)(2), to Ms. Rivas’ injury, and is thus liable to
her in damages.

l9. Defendant’s noncompliance with the FDCPA was intentional Within the
meaning of 15 U.S.C. § 1692k, as defendant intended to mail the letter that it did, in fact,

send to Ms. Rivas, not to her counsel as directed.

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Reguested Relief

Wherefore, plaintiff Maria Rivas respectfully requests that the court provide the
following relief:

20. An award of statutory damages of $1,000.00, pursuant to the FDCPA, 15
U.S.C. § l692k(a)(2), as well as actual damages (including emotional distress) as
determined by the jury pursuant to 15 U.S.C. § l692k(a)(l).

21. An award ofplaintiff’s costs and reasonable attorney’s fees as appropriate
under the FDCPA, 15 U.S.C. § l692k(a)(3).

22. Such further relief as this court deems appropriate.

Plaintiff requests trial by juiy.

Respectfully submitted,

MARL¢\ OLINDA RIVAS

By counsel.

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Date: 1 l iv v/'\
Simon Y. San oval-Moshenberg, Esq. (VA 77110)

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